
Laramore, Judge,
dissenting:
I respectfully dissent for the following reasons: The majority opinion states: “We have no way of knowing whether and to what extent plaintiff in fact violated the Act, and trial of that issue would obviously defeat the very purpose of the compromise.” [emphasis supplied] I have no quarrel with this statement. As a matter of fact, I completely agree, especially in view of the finding and the statement in the majority opinion that the plaintiff compromised “primarily with the objective of avoiding the risks, and the expense, inconvenience and other disruptive consequences of litigation.”
From the quoted statements, I conclude that what plaintiff did by way of compromise was to merely “buy his peace” and at no time did it admit to any violations of the Walsh-Healey Act. This, I believe, is especially true because there can be no evidentiary significance accorded to a compromise agreement; i.e., an admission of liability by the compromiser unless, within the agreement, there are independent admissions of fact by the compromising party. Hawthorne v. Eckerson Co., 77 F.2d 844; National Battery Co. v. Levy, 126 F.2d 33, cert. denied, 316 U.S. 697; Milton S. Kronheim *597&amp; Co., Inc. v. United States, 143 Ct.Cl. 390, 401-402; Wigmore on Evidence (3rd Ed.) Vol. IV, §§ 1061,1062.
Thus, we have in this case a compromise agreement which contains no admissions of fact and which, in my opinion, cannot be construed against the plaintiff.
Furthermore, even assuming there was a violation of the Walsh-Healey Act, the record is completely void of any evidence that the violation was in any sense willful. Since it has not been found to be willful, it follows that a violation, if any, was an innocent violation.
Therefore, since I do not believe the statute of limitations is a bar to plaintiff’s claim, and inasmuch as a violation, if there was one, has not been shown to be willful, in my opinion the sum paid as the result of the compromise agreement is deductible as an ordinary business expense and in no way can be construed as frustrating a clearly defined Federal or State policy. Milton S. Kronheim &amp; Co., Inc. v. United States, supra.
